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UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division                   Galveston                   Case Number               17-00001

                               Texas Department of Criminal Justice

                                                    versus

                             U.S. Food and Drug Administration et al.



           Lawyer’s Name                  Ethan P Davis
                Firm                      U.S. Department of Justice
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          City & Zip Code                 Washington, DC 20530
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       Federal Bar & Number               CA (294683); NY (4731055); DC (1019160)


 Name of party applicant seeks to                        U.S. Food and Drug Administration
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:                         Signed:
            6/11/2018                                            s/ Ethan P. Davis


 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
